          Case 1:21-cv-03354-BAH Document 80 Filed 07/07/23 Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 RUBY FREEMAN

 and                                                   Civil Action No. 21-3354 (BAH)

 WANDREA MOSS,
                                                       Judge Beryl A. Howell
                         Plaintiffs,

         v.

 RUDOLPH W. GIULIANI,

                         Defendant.




JOINT MOTION FOR EXTENSION OF TIME FOR PLAINTIFFS TO FILE MOTION
  FOR SANCTIONS TO FACILITATE PARTIAL SETTLEMENT ON LIABILITY

        On June 23, 2023, the Court granted Plaintiffs’ Ruby Freeman and Wandrea ArShaye’

(“Shaye”) Moss’s (collectively, “Plaintiffs”) request for leave to file a motion for sanctions as to

Defendant Rudolph W. Giuliani’s “failure to sufficiently preserve” discoverable information, and

the Court directed Plaintiffs to file their motion today, July 7, 2023. The parties now jointly move

for an extension for Plaintiffs to file their motion to July 11, 2023, to enable the parties to finalize

their discussions regarding a potential negotiated resolution of certain factual issues regarding

Defendant Giuliani’s liability, which are relevant to Plaintiffs’ anticipated sanctions motion.

        The Court is familiar with the background to this case. The present motion at issue

concerns whether this Court should impose sanctions on Defendant Giuliani for his failure to

preserve evidence and comply with the rules of discovery.

        On July 6, 2023, counsel for Defendant Giuliani approached counsel for Plaintiffs to

discuss a potential negotiated resolution of issues that would resolve large portions of this litigation
          Case 1:21-cv-03354-BAH Document 80 Filed 07/07/23 Page 2 of 4




and otherwise give rise to Plaintiffs’ anticipated request for sanctions. Throughout July 6 and July

7—and into the evening on July 7, counsel for both parties have worked diligently to negotiate a

resolution and believe they are close.

       In an effort to avoid burdening the Court with unnecessary motions practice, Plaintiffs and

Defendant agree that a limited extension of time is warranted to enable the parties to determine

whether such an agreement can be reached. The parties accordingly request a brief extension of

time to the Court’s deadline for Plaintiffs to file their motion for sanctions so that they may finalize

their discussions regarding a negotiated resolution.



Dated: July 7, 2023

/s/ John Langford                                      /s/ Joseph Sibley
UNITED TO PROTECT DEMOCRACY                            CAMARA & SIBLEY L.L.P.
John Langford*                                         Joseph D. Sibley IV
Rachel Goodman*                                        DC Bar ID: TX0202
82 Nassau Street, #601                                 1108 Lavaca St.
New York, NY 10038                                     Suite 110263
Tel: (202) 579-4582                                    Austin, TX 78701
john.langford@protectdemocracy.org                     Telephone: (713) 966-6789
rachel.goodman@protectdemocracy.org                    Fax: (713) 583-1131
                                                       Email: sibley@camarasibley.com
 WILLKIE FARR & GALLAGHER LLP
 Michael J. Gottlieb (974960)                          Counsel for Defendant
 Meryl C. Governski (1023549)
 J. Tyler Knoblett (1672514)
 Timothy P. Ryan (1719055)
 1875 K Street NW
 Washington, DC 20006
 Tel: (202) 303-1000
 Fax: (202) 303-2000
 mgottlieb@willkie.com
 mgovernski@willkie.com
 jknoblett@willkie.com

 WILLKIE FARR & GALLAGHER LLP
 M. Annie Houghton-Larsen*
 787 7th Avenue



                                                   2
        Case 1:21-cv-03354-BAH Document 80 Filed 07/07/23 Page 3 of 4




New York, New York
Tel: (212) 728-8164
Fax: (212) 728-9164
mhoughton-larsen@willkie.com

DUBOSE MILLER LLC
Von A. DuBose*
75 14th Street NE
Suite 2110
Atlanta, GA 30309
Tel: (404) 720-8111
dubose@dubosemiller.com

UNITED TO PROTECT DEMOCRACY
Christine Kwon*
555 W. 5th St.
Los Angeles, CA 90013
Tel: (919) 619-9819
Christine.kwon@protectdemocracy.org

UNITED TO PROTECT DEMOCRACY
Sara Chimene-Weiss*
7000 N 16th Street Ste. 120, #430
Phoenix, AZ 85020
Tel: (202) 579-4582
sara.chimene-weiss@protectdemocracy.org

*Admitted pro hac vice

Attorneys for Plaintiffs Ruby Freeman and
Wandrea’ Moss




                                            3
          Case 1:21-cv-03354-BAH Document 80 Filed 07/07/23 Page 4 of 4




                                CERTIFICATE OF SERVICE

       I hereby certify that on July 7, 2023, this document was filed with the Clerk of the Court

of the U.S. District Court of the District of Columbia by using the CM/ECF system, which will

automatically generate and serve notices of this filing to all counsel of record.


Dated: July 7, 2023                                   /s/ _John Langford
                                                      UNITED TO PROTECT DEMOCRACY
                                                      John Langford*
                                                      82 Nassau Street, #601
                                                      New York, NY 10038
                                                      Tel: (202) 579-4582
                                                      john.langford@protectdemocracy.org

                                                      *Admitted pro hac vice
